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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               Charlottesville Division


IRA D. SOCOL,
              Plaintiff,
v.                                                    Case No. 3:18-cv00090
ALBEMARLE COUNTY SCHOOL BOARD

       and

MATTHEW S. HAAS, individually and as
    Superintendent of Albemarle County Public
    Schools,

              Defendants.


                     NOTICE OF SUBPOENA FOR DOCUMENTS

       PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil

Procedure, a Subpoena has been issued this 10th day of March, 2020, to the following:

      AT&T Corp.
      c/o CT Corporation System, Registered Agent
      4701 Cox Road, Suite 285
      Glen Allen, VA 23060

The subpoena requires the production of documents described in the Subpoena Attachment,
at the offices of Wharton, Aldhizer, & Weaver P.L.C. at 125 South Augusta Street, Suite
2000, Staunton, Virginia 24401.

Dated: March 10, 2020.

                                                 Respectfully submitted,
                                                 IRA D. SOCOL
                                                 By Counsel
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/s/ Lucas I. Pangle
Jeffrey R. Adams (VSB No. 43411)
Lucas I. Pangle (VSB No. 90963)
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Telephone: 540-885-0199
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Email: jadams@wawlaw.com
        lpangle@wawlaw.com
Counsel to Ira D. Socol



                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of March, 2020, I electronically filed the

foregoing pleading with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to:

       Jennifer D. Royer, Esq.
       Royer Law Firm, P.C.
       P.O. Box 4525
       Roanoke, Virginia 24015
       jroyer@royerlawfirm.com
       Counsel for Defendants



       I hereby certify that on the 10th day of March, 2020, a copy of the foregoing pleading

was mailed via first-class U.S. mail and electronic mail to the following:

       Ross Holden
       Albemarle County Public Schools
       401 McIntire Road, Suite 333
       Charlottesville, Virginia 22902
       rholden@k12albemarle.org
       Counsel for Albemarle County School Board
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                                   /s/ Lucas I. Pangle
                                   Jeffrey R. Adams (VSB No. 43411)
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